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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8   JIRIKI BAUTISTA, an individual, ARI SILVA,
     an individual
 9                                                         No. C18-757 RSM
                                  Plaintiffs,
10                                                         ORDER ON PLAINTIFFS’
            v.                                             MOTION FOR CASE SCHEDULE
11
     WFS EXPRESS, a Delaware corporation,
12   CONSOLIDATED AVIATION SERVICES, a
     New York Corporation
13
                                  Defendants.
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            This matter comes before the Court on Plaintiffs’ Motion for New Case Schedule. Dkt.
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     #37. Defendants do not oppose the requested relief. Dkt. #39. Accordingly, the Court ORDERS
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     as follows:
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            1) Plaintiffs’ Motion for Case Schedule, Dkt. #37, is GRANTED.
19
            2) The Court makes no ruling as to the enforceability of the Settlement Agreement
20
                   between the parties.
21
            3) The Clerk of the Court is directed to issue a new case schedule and trial date.
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23          DATED this 21st day of October, 2020.
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                                                  RICARDO S. MARTINEZ
27                                                CHIEF UNITED STATES DISTRICT JUDGE

     ORDER ON PLAINTIFFS’ MOTION FOR CASE SCHEDULE - 1
